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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 11-20587-CR-SCOLA

  UNITED STATES OF AMERICA,

  v.

  WYATT BARNFIELD III,

        Defendant.
  _______________________________/

                  ORDER REGARDING DEFENDANT’S MEDICAL NEEDS
         THIS MATTER is before the Court following a hearing on July 18, 2012. During the
  hearing, the Court was informed of certain medical issues that Defendant claims are not being
  properly addressed at the FDC. Specifically, Defendant spoke of problems related to a screw
  protruding from his left elbow and problems with his prosthetic left leg. Defendant claims to
  require a bandage of some kind over the left elbow because of the protruding screw. He also
  claims to need the foot of the prosthetic repaired or replaced and new prosthetic socks and
  sleeves, as the current socks/sleeves have become dirty and unsanitary with use.
         While this Court lacks the authority to directly order the FDC to provide specific medical
  care, the Court is concerned about Defendant’s condition.       Accordingly, the Court hereby
  recommends that the FDC staff evaluate Defendant’s medical situation and take appropriate
  action forthwith.

         DONE AND ORDERED at Miami, Florida, on July 19, 2012.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
                                                      ROBERT N. SCOLA, JR.

  Copies to:
  Counsel of record
  FDC, Miami
